 1                                                              The Honorable James L. Robart
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 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
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11    UNITED STATES OF AMERICA,                           CASE NO. CR 19-117 JLR
12                             Plaintiff,
13                        v.                              INFORMATION
14    SHAWNA REID,                                        (Class A Misdemeanor)
15                             Defendant.
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18          The Assistant Attorney General charges:
19                                            COUNT ONE
20                                    (Obstruction of Court Orders)
21          On or about February 28, 2018, in the Western District of Washington, SHAWNA
22 REID, the defendant, willfully attempted to prevent, obstruct, impede, or interfere with
23 the due exercise of rights or the performance of duties under an order to compel issued on
24 or about February 26, 2018 by the United States District Court for the Western District of
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     Information - 1                                                             ASSISTANT ATTORNEY
                                                                                        GENERAL
     United States v. Reid, No. CR19-117JLR
                                                                               1301 NEW YORK AVENUE, NW
                                                                                        SUITE 700
                                                                                 WASHINGTON, D.C. 20005
                                                                                      (202) 514-3594
1 Washington during her testimony before a federal grand jury empaneled and sitting in the
2 Western District of Washington at Seattle.
3                   All in violation of Title 18, United States Code, Section 1509.
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6    Dated this 23rd Day of August 2021.
7                                               Kenneth A. Polite, Jr.,
                                                Assistant Attorney General, Criminal Division
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                                                ________________________
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                                                Matthew Hoff
11                                              Christina Taylor
                                                Trial Attorneys
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                                                Organized Crime and Gang Section
13                                              United States Department of Justice
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     Information - 2                                                               ASSISTANT ATTORNEY
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